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13                         UNITED STATES DISTRICT COURT
14                       CENTRAL DISTRICT OF CALIFORNIA
                                   EASTERN DIVISION
15
16   VICTOR ROSALES,                       ) No. 5:21-cv-00735 MAA
                                           )
17                                         )
           Plaintiff,                      )
18                                         ) JUDGMENT OF REMAND
                  v.                       )
19                                         )
     KILOLO KIJAKAZI,1                     )
20   Acting Commissioner of Social         )
                                           )
21   Security,                             )
                                           )
22                                         )
           Defendant.                      )
23         The Court having approved the parties’ Stipulation to Voluntary Remand
24   Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment
25   (“Stipulation”) lodged concurrent with the lodging of the within Judgment of
26
27   1
      Kilolo Kijakazi became the Acting Commissioner of Social Security on July 9,
28   2021. Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Kilolo
     Kijakazi should be substituted, therefore, for Andrew Saul as the defendant in this
     suit. No further action need be taken to continue this suit by reason of the last
     sentence of section 205(g) of the Social Security Act, 42 U.S.C. § 405(g).
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 1   Remand, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the
 2   above-captioned action is remanded to the Commissioner of Social Security for
 3   further proceedings consistent with the Stipulation
                                                      on to Remand.
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 4
 5   DATED: 09/29/2021
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